. Case 1:05-cv-01106-.]DT-STA Document 7 Filed 07/18/05 Page 1 of 6 Page|D 11

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lN THE UNITED STATES DISTRICT COURT 03 \
FOR THE WESTERN DlSTRICT OF TENNESSEE 'jéz / 00
EASTERN DlVlSlON, AT JACKSON / 3 /3/4.7
- ' l 'f,r;y.

 

GARY S. STASER

 

Plaintiff, l\lo. l:050vl l()6-T

V.

l\/IUTUAL OF OMAHA lNSURANCE
COMPANY

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Defenclant.

RULE 16(B) SCHEDULING ORDER

Pursuant to the scheduling conference set by written notice for July 29, 2005, the
following dates are established as the t`lnal dates for:
INITIAL DlSCLOSURES (Rule 26(3)(})): August 12., 2005
JO]NING PARTIES:
For Plaintiff: September 28, 2005
F or Defendaltt: October 28, 2005

AMENDING PLEADINGS:

For Plaintiff: September 28, 2005
l~"or Defendant: 0ctober 28, 2005
COMPLETING ALL DISC()VERY: February 27, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORjES,
AND REQUESTS FOR ADMISS!ONS (propounded so that
responses arc due no later than): Feb mary 27, 2006

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(b) EXPERT DISCLOSURE (RULE 26(a)(2)):
(i) Plaintiff‘s Experts: December 27, 2006
(ii) Defendant's Expeits: January 27, 2006
(iii) Supplementation under Rule 26(e):
February 7, 2006

(c) DEPOSITION OF EXPERTS: February 27, 2006

FILING DISPOSITIVE MOTIONS: March 17, 2006

FlNAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(3)(3)):
(a) For Plaintiff: May 5, 2006 or 45 days before trial
(b) For Defendant: May 18, 2006 or 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to tile
objections under Rule 26(a)(3).

The trial of this matter is expected to last <Q days and is SET for NON-JURY
TRIAL on Mondav, June 19, 2006, at 9:30 a.m. Ajoint pretrial order is due on Friday, June
9, 2006. ln the event the parties are unable to agree on a joint pretrial order, the parties must
notify thc court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery. All motion or other filings that require a response must be filed
sufficiently in advance ofthe discovery cutoff date to enable opposing counsel to respond by the
time permitted by the Rules prior to that date. For example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery. No depositions may be scheduled to occur after the discovery cutoff
date.

l\/lotions to compel discovery are lo be filed and served by the discovery deadline or
within thirty (30) days ofthe default or the service ofthe response, answer, or objection, which is
the subject of the motion, if the default occurs within thirty (30) days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or the objection to
the default1 response, answer, or objection shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l.)(B), all
motions, except motions pursuant to FRCP 12, 56, 59 and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply

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is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the l\/lagistrate Judge. The l\/[agistrate .ludge can
normally provide the parties with a definite trial date that will nol be continued unless a
continuance is agreed to by all parties, or an emergency arises which precludes the matter front
proceeding to trial. However, the parties DO NOT CONSENT to all matters being conducted by
the Magistrate Judge, including the conducting of a jury trial, if properly demanded, with any
appeal of the verdict to be directly to the Sixth Circuit Court of Appeals, pursuant to 28 U.S.C. §
636(c).

The parties are encouraged to engage in court-annexed attorney mediation or private
mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT lS SO ORDERED.

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s. THOMAS ANDERSON
UNITED STATES MAGISTR_ATE JUDGE

Date: Q“,Q,` /{f" ZQQj`/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01106 vvas distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

